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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


ELIZABETH NELSON and                            Case No. 23-11597
ALBERT THROWER,
     Plaintiffs,                                Brandy R. McMillion
     v.                                         United States District Judge

ROBERT SCOTT, et al.,                           Curtis Ivy, Jr.
     Defendants.                                United States Magistrate Judge
____________________________/


                         CASE MANAGEMENT ORDER

                      SUMMARY OF MAJOR DEADLINES

                EVENT                                    DEADLINE

Amendment of Pleadings                    May 31, 2024

Initial Disclosures                       June 7, 2024

Fact and Expert witness                   July 8, 2024
lists/disclosures
Fact Discovery                            August 5, 2024

Dispositive Motion Deadline               September 3, 2024



      Plaintiffs Elizabeth Nelson and Albert Thrower filed this matter on July 5,

2023. (ECF No. 1). This case was referred to the undersigned to conduct all

pretrial proceedings. (ECF No. 44). The Court issued an order requiring a Rule

26(f) meeting and Rule 16 conference, and a telephonic scheduling conference was
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set for May 9, 2024. (ECF No. 47). During the scheduling conference, the

following dates were agreed on and will govern the future course of this case:

      A.     AMENDMENT OF PLEADINGS

      Amendment of pleadings must conform with Fed. R. Civ. P. 15 and

M.I.E.D. Local Rule 15.1. The deadline for Plaintiffs to filed an amended

complaint May 31, 2024.

      B.     JURY TRIAL

      A jury trial has been demanded.

      C.     INITIAL RULE 26(a)(1) DISCLOSURES

      The parties will make initial disclosures pursuant to Federal Rule of Civil

Procedure 26(a)(1) by June 7, 2024.

       D.    WITNESS LISTS

      Lay and expert witness lists and disclosures are due July 8, 2024. Normally

a witness should be identified by name or with sufficient specificity that a

particular person can later be identified. Custodians of records need not be

identified by name but the records sought should be identified so the proper

custodian for those records can be identified. Non-expert witness lists should

include a short (one or two sentence) summary of the witness’s expected

testimony. Expert witness disclosures should include the reports required by

Federal Rule of Civil Procedure 26(a)(2)(B). No witness may be called for trial


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unless that witness’s name is listed by the above date, without a stipulation or order

of the court that would be based on a showing that the witness sought could

not reasonably have been listed as of that date.

      E.     DISCOVERY

      All discovery must be initiated such that it is completed by the deadlines

indicated herein. Fact discovery must be completed by August 5,

2024. Extensions of court-supervised discovery are not ordinarily granted in the

absence of unusual circumstances. That said, a party may move to extend

scheduling order deadlines addressing Fed. R. Civ. P. 16(b) good cause

factors. All motions to compel disputed discovery or for protective orders must be

filed promptly (within 14 days) of notice of the dispute or they will not be

considered, absent an extraordinary showing of good cause. Prior to filing a

motion to compel, the moving party must seek concurrence in the relief sought

and certify attempts to do so under Local Rule 7.1.

      F.     DISPOSITIVE MOTIONS

      Dispositive motions (motions to dismiss or for summary judgment, etc.)

must be filed by September 3, 2024. The procedures associated with such motions

are governed by the Local Rules and the district judge’s practice guidelines, which

are both located on the Court’s website. See www.mied.uscourts.gov.

      G.     SETTLEMENT


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      A settlement conference will be scheduled after the completion of discovery

and at the request of the parties.

      H.      CIVILITY

      The parties are reminded of their responsibilities under the Civility

Principles of this court, which are located as an appendix to the Local Rules of the

Eastern District of Michigan.

      I.     MAGISTRATE JUDGE JURISDICTION

      The parties are informed of their option to consent to allow a United States

Magistrate Judge to conduct any and all proceedings in this case, including a jury

or nonjury trial, and to order the entry of a final judgment, pursuant to 28 U.S.C.

§ 636(c) and Federal Rule of Civil Procedure 73.

      J.     FURTHER PROCEEDINGS

      Absent consent to magistrate judge jurisdiction in this matter, all further

proceedings in this case, following resolution of dispositive motions, must be

conducted by the district judge assigned to this case. Those matters include the

preparation of a joint pretrial order, conducting a final pretrial conference,

consideration of motions in limine, approving voir dire and jury instructions, as

well as any other issue that remains in dispute or pertains directly to the manner in

which the trial is conducted.

      IT IS SO ORDERED.


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     Date: May 9, 2024.                     s/Curtis Ivy, Jr.
                                            Curtis Ivy, Jr.
                                            United States Magistrate Judge




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